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                            EXHIBIT H
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                                                   August 21, 2018


         HAND DELIVERY & CM/ECF

         The Honorable Christopher J. Burke
         J. Caleb Boggs Federal Building
         844 N. King Street
         Unit 28
         Room 2325
         Wilmington, DE 19801-3555

                        Re:    TRUSTID, Inc. v. Next Caller Inc. 1:18-cv-00172-LPS-CJB (D. Del.)

         Dear Judge Burke:

                Plaintiff TRUSTID, Inc. writes to respectfully request Your Honor’s assistance with
         discovery. The complaint in this action was filed on January 30, 2018. TRUSTID amended the
         complaint on April 13. (D.I. 16.) Defendant Next Caller Inc. moved to dismiss the amended
         complaint on May 29. (D.I. 25.) Briefing on the motion was completed on June 19. On August
         17, TRUSTID attempted to initiate a Rule 26(f) conference, so that the parties could begin
         discovery while they await the entry of a schedule. Next Caller declined the proposal, citing the
         pending motion to dismiss as its reason to delay discovery. The pendency of the motion is an
         improper basis to refuse discovery.

                 TRUSTID’s lawsuit involves claims of patent infringement, claims under the Defend
         Trade Secrets Act, and claims for false advertising. TRUSTID is eager to begin prosecuting its
         case, so that a prompt resolution can be achieved. While all of TRUSTID’s claims are time
         sensitive to TRUSTID, its trade-secret-misappropriation claims are particularly urgent.
         TRUSTID has reason to believe that Next Caller, or its assets, are being marketed for sale,
         raising the concern that TRUSTID’s trade secrets (now in Next Caller’s possession) may be
         unlawfully transferred or disclosed to one or more potential purchasers.

                Because Next Caller has declined TRUSTID’s proposal to engage in a Rule 26(f)
         conference, TRUSTID requests that the Court direct the parties to proceed with case-
         management planning and discovery, as provided by the Court’s local rules and Judge Stark’s
         Revised Procedures for Managing Patent Cases.



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         YOUNG CONAWAY STARGATT & TAYLOR, LLP
         The Honorable Christopher J. Burke
         August 21, 2018
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                                                        Respectfully submitted,

                                                        /s/ Adam W. Poff

                                                        Adam W. Poff (No. 3990)
         AWP:tjh
         cc: All Counsel of Record via CM/ECF & Email




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